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                 EXHIBIT 2
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      CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS

       UA Local 38 Defined Contribution Pension Plan and United Association of
Plumbers and Pipefitters, Journeymen, Local #38 Defined Benefit Pension Plan
(“Plaintiff”) declares:
       1.     Plaintiff has reviewed a complaint and authorized its filing. Plaintiff
has authorized the filing of a motion for appointment as lead plaintiff.
       2.     Plaintiff did not acquire the security that is the subject of this action at
the direction of plaintiff’s counsel or in order to participate in this private action or
any other litigation under the federal securities laws.
       3.     Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
       4.     Plaintiff has made the following transaction(s) during the Class Period
in the securities that are the subject of this action:

 Security                 Transaction             Date              Price Per Share


                                See attached Schedule A.

       5.     Plaintiff has not sought to serve or served as a representative party in a
class action that was filed under the federal securities laws within the three-year
period prior to the date of this Certification except as detailed below:
                                          None.




       6.     Plaintiff will not accept any payment for serving as a representative
party on behalf of the class beyond the Plaintiff’s pro rata share of any recovery,


                                                                              SELECTQUOTE
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except such reasonable costs and expenses (including lost wages) directly relating
to the representation of the class as ordered or approved by the court.
      I declare under penalty of perjury that the foregoing is true and correct.
              13th day of October, 2021.
Executed this ____
                                       UA Local 38 Defined Contribution Pension
                                       Plan and United Association of Plumbers
                                       and Pipefitters, Journeymen, Local #38
                                       Defined Benefit Pension Plan

                                       By:
                                              Maria C. Rivera, Administrator




                                        -2-
                                                                          SELECTQUOTE
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                                                  SCHEDULE A

                                         SECURITIES TRANSACTIONS

Defined Contribution Pension Plan

                             Date                       Amount of
                           Acquired                   Shares Acquired   Price

                          02/24/2021                       3,139        $30.95
                          03/08/2021                        391         $26.84
                          05/14/2021                        730         $21.24

Defined Benefit Pension Plan

                             Date                       Amount of
                           Acquired                   Shares Acquired   Price

                          02/24/2021                       5,132        $30.95
                          03/08/2021                        449         $26.84
                          05/14/2021                       1,387        $21.24

Prices listed are rounded up to two decimal places.
